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                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Joy Gallante, being duly sworn, depose and state as follows:

I.     INTRODUCTION AND SUMMARY OF PROBABLE CAUSE

       1.      Based upon my participation in the investigation, I have become familiar with a

scheme to facilitate illegal access to the U.S. financial system by entities affiliated with the

Democratic People’s Republic of Korea (DPRK) a/k/a North Korea, including the state-operated

Foreign Trade Bank (FTB). The scheme was carried out by North Korean national SIM Hyon-Sop

and others.

II.    AGENT BACKGROUND

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), currently

assigned to the FBI Phoenix Field Office. I have been a Special Agent with the FBI since 2002.

Since approximately 2002, I have principally been involved in national security investigations.

Specifically, I have been involved in investigations involving counterintelligence, export

violations, sanctions violations, and illicit finance. I have received training in the laws and

regulations relating to the International Emergency Economic Powers Act (“IEEPA”), pursuant to

Title 50, United States Code, Sections 1701 through 1707. Additionally, I have received training

in, among other things, criminal investigative techniques, and I have participated in investigations

involving the violation of IEEPA, including laundering illegal proceeds, by causing funds to be

transferred through U.S. banks for the benefit of prohibited entities.

       3.      The facts set forth in this affidavit are based on information that I have obtained

from my personal involvement in the investigation and from other law enforcement officers who

have been involved in this investigation, on documents that I have reviewed, and on my training
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and experience. Where I have reported statements made by others or from documents that I have

reviewed, those statements are reported in substance and in part, unless otherwise indicated.

       4.      This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter. Because this

affidavit is being submitted for a limited purpose, I have not set forth all of the information known

to me concerning this investigation. Instead, I have set forth information that I believe to be

sufficient to establish probable cause in support of the government’s application for an arrest

warrant.

       5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

SIM Hyon-Sop and other co-conspirators known and unknown, have violated 18 U.S.C. § 371

(Conspiracy), 18 U.S.C. § 1344 (Bank Fraud), 31 U.S.C. § 5322 (the Bank Secrecy Act), 50 U.S.C.

§ 1705 (IEEPA), and 18 U.S.C. §§ 1956(a)(2)(A) and (h) (Money Laundering).

III.   VENUE

       6.      As discussed more fully below, acts or omissions (i.e., the failure to obtain a license

from the Department of the Treasury) in furtherance of the offenses under investigation occurred

within Washington, D.C. See 18 U.S.C. § 3237.

IV.    RELEVANT LEGAL BACKGROUND

       A.      Sanctions Against North Korea

       7.      The Trading with the Enemy Act (“TWEA”) of 1917, codified at 12 U.S.C. § 95

and 50 U.S.C. § 4301 et seq., authorized the President to restrict trade between the United States

and countries to which it is adverse. On December 16, 1950, the President designated the

Democratic People’s Republic of Korea (“DPRK” or “North Korea”), under TWEA. North Korea

remained designated as such until June 26, 2008.



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       8.      Under TWEA, U.S. financial institutions were barred from conducting transactions

for the benefit of North Korea, to include “[a]ll transfers of credit and all payments between, by,

through, or to any banking institution or banking institutions wheresoever located, with respect to

any property subject to the jurisdiction of the United States or by any person (including a banking

institution) subject to the jurisdiction of the United States.” 31 C.F.R. § 500.201 (2006 ed.).

       B.      United Nations Sanctions

       9.       In December 1985, North Korea ratified the Nuclear Non-Proliferation Treaty

(“NPT”). On January 10, 2003, North Korea withdrew from the NPT. On October 14, 2006, the

United Nations (“UN”) Security Council passed Resolution 1718 condemning North Korea’s first

nuclear test and imposing sanctions on North Korea, including the supply of heavy weapons and

select luxury goods. After successive nuclear tests by North Korea, the UN Security Council

strengthened or imposed additional sanctions in 2009, 2013, 2016 and 2017.

       C.      IEEPA

       10.     The International Emergency Economic Powers Act (“IEEPA”), codified at Title

50 U.S.C. § 1701 et seq., enacted in 1977, authorized the President to impose economic sanctions

in response to an unusual or extraordinary threat, which has its source in whole or substantial part

outside the United States, to the national security, foreign policy, or economy of the United States

when the President declares a national emergency with respect to that threat.

       11.     The Departments of the Treasury, Commerce, and State enforce and administer

economic sanctions under their respective authorities, to accomplish U.S. foreign policy and

national security goals. In particular, the Department of the Treasury publishes a publicly available

list of individuals and entities (“Specially Designated Nationals and Blocked Persons” or “SDNs”)

targeted by U.S. economic sanctions. An SDN’s property and interests in property, subject to U.S.



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jurisdiction or in the possession and control of U.S. persons, are blocked when the SDN is placed

on the SDN list. U.S. persons, including U.S. financial institutions, are generally prohibited from

dealing with SDNs and their property and interests in property.

       12.     Using the powers conferred by IEEPA, the President and the Executive Branch

have issued orders and regulations governing and prohibiting certain transactions with countries,

individuals, and entities suspected of proliferating Weapons of Mass Destruction (“WMD”). On

November 14, 1994, the President issued Executive Order (“EO”) 12,938, finding “that the

proliferation of nuclear, biological, and chemical weapons (‘weapons of mass destruction’) and of

the means of delivering such weapons, constitutes an unusual and extraordinary threat to the

national security, foreign policy, and economy of the United States, and [declaring] a national

emergency to deal with that threat.”

       13.     On June 28, 2005, the President, to take additional steps with respect to the national

emergency described and declared in EO 12,938, issued EO 13,382 (“Blocking Property of

Weapons of Mass Destruction Proliferators and Their Supporters”) to target proliferators of WMD

and their support networks and to deny designated proliferators access to the U.S. financial and

commercial systems. EO 13,382 authorized the U.S. Secretary of the Treasury, in consultation

with the U.S. Secretary of State, “to take such actions, including the promulgation of rules and

regulations, as may be necessary to carry out the purposes” of the EO. Pursuant to that authority,

on April 13, 2009, the Secretary of the Treasury promulgated the “Weapons of Mass Destruction

Proliferators Sanctions Regulations.” See 31 C.F.R. § 544.101 et seq. EO 13,382 and the Weapons

of Mass Destruction Proliferators Sanctions Regulations prohibit transactions or dealings by any

U.S. person or within the United States with individuals and entities placed on the SDN list, unless




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exempt or authorized by the U.S. Treasury Department’s Office of Foreign Assets Control

(“OFAC”), which is located in Washington, D.C.

       14.     On August 11, 2009, the Department of the Treasury designated the North Korean

bank Korea Kwangson Banking Corp. (“KKBC”) under EO 13,382 for providing financial

services in support of both Tanchon Commercial Bank and Korea Hyoksin Trading Corporation,

both of which were previously identified by the President as WMD proliferators. All three entities

had been designated by the UN pursuant to UN Security Council Resolution 1718 for their roles

in North Korea’s WMD and missile programs. At the time of the designation, the Department of

the Treasury Under Secretary for Terrorism and Financial Intelligence stated, “North Korea’s use

of a little-known bank, KKBC, to mask the international financial business of sanctioned

proliferators demonstrates the lengths to which the regime will go to continue its proliferation

activities and the high risk that any business with North Korea may well be illicit.”

       15.     On March 11, 2013, the Department of the Treasury designated the Foreign Trade

Bank (“FTB”), North Korea’s primary foreign exchange bank, pursuant to EO 13,382, for

providing financial services that assisted in the proliferating of WMD. In the designation, Treasury

stated, “North Korea uses FTB to facilitate transactions on behalf of actors linked to its

proliferation network, which is under increasing pressure from recent international sanctions. . . .

By designating FTB, the Treasury Department is targeting a key financial node in North Korea’s

WMD apparatus and cutting it off from the U.S. financial system. FTB is a state-owned bank

established in 1959. FTB acts as North Korea’s primary foreign exchange bank and has provided

key financial support to [KKBC].”

       16.     On March 15, 2016, the President, to take additional steps with respect to the

previously described national emergency, issued EO 13,722 to address the Government of North



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Korea’s continuing pursuit of its nuclear and missile programs. Pursuant to that authority, on

March 16, 2016, the Secretary of the Treasury promulgated the “North Korea Sanctions

Regulations.” See 31 C.F.R. § 510.101 et seq. EO 13,722 and the North Korea Sanctions

Regulations prohibit the export of financial services from the United States or by any U.S. person

to North Korea, unless exempt or authorized by OFAC. Under these orders, U.S. financial

institutions were barred from providing correspondent banking services to North Korea entities.

       17.     EO 13,466 and 13,722, and North Korea Sanctions Regulations also prohibited any

transaction by any U.S. person or within the United States that evaded or avoided, or had the

purpose of evading or avoiding, any prohibition set forth in these regulations.

       D.      Bank Secrecy Act

       18.     Foreign financial institutions maintain U.S. dollar bank accounts (“correspondent

accounts”) at banks in the United States (“correspondent banks”). Correspondent accounts are

broadly defined to include any account established for a foreign financial institution to receive

deposits from, or to make payments or disbursements on behalf of, the foreign financial institution,

or to COCONSPIRATOR 3dle other financial transactions, such as currency conversions, related

to such foreign financial institution. See 31 C.F.R. § 1010.605. Correspondent banks serve to

support international wire transfers for foreign customers in a currency that the foreign customer’s

overseas financial institution normally does not hold on reserve, such as U.S. dollars, and to

conduct currency conversions to/from U.S. dollars. It is through these correspondent accounts that

the funds used in U.S. dollar transactions clear and/or are converted into other currencies.

       19.     According to the U.S. Department of the Treasury, the global financial system relies

on correspondent banking relationships. Nearly all U.S. dollar wire transactions conducted by

foreign financial institutions are processed through correspondent bank accounts held in the United



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States. Foreign financial institutions include not only banks, but also dealers of foreign exchange

and money transmitters. See 31 C.F.R. § 1010.605(f).

        20.    The Bank Secrecy Act requires U.S. financial institutions to take anti-money

laundering measures to ensure that correspondent bank accounts established by foreign financial

institutions are not used to finance terrorism or to avoid sanctions programs administered by

OFAC.

        21.    The Treasury Department’s Financial Crimes Enforcement Network (“FinCEN”)

is responsible for administering the Bank Secrecy Act in furtherance of its mission to safeguard

the U.S. financial system. The Bank Secrecy Act gives FinCEN a range of options, called special

measures, that can be adapted to target specific money laundering and terrorist financing concerns.

See USA PATRIOT Act § 311, codified at 31 U.S.C. § 5318A. One such special measure imposed

under Section 311 protects the integrity of the U.S. financial system by prohibiting financial

institutions from causing U.S. financial instructions to engage in any type of financial transaction

with any entity within the jurisdiction deemed an area of money laundering concern.

        22.    In June 2016, FinCEN determined that the entire North Korean financial sector was

a primary money laundering concern. Federal Register, Vol. 81, No. 107 (June 3, 2016). On

November 9, 2016, FinCEN implemented a special measure, barring all U.S. financial institutions

from maintaining a correspondent bank account for any North Korean financial institution or any

party acting on its behalf. A second special measure required U.S. financial institutions to exercise

“enhanced due diligence” and take reasonable steps to not process transactions for correspondent

accounts of foreign financial institutions in the United States if such transaction involved a North

Korean financial institution. In effect, FinCEN barred all North Korean financial institutions and

entities acting on their behalf from engaging in U.S. dollar transactions through correspondent



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banking transfers in the United States. Failure to comply with the special measure resulted in civil

and criminal penalties for U.S. financial institutions.

       23.     As a result of the North Korea Sanctions Regulations, the FinCEN 311 action, and

overall risk management, correspondent banks refused to knowingly process any U.S. dollar wire

transactions involving entities in North Korea.

       E.      Money Laundering

       24.     18 U.S.C. § 1956(h) criminalizes a conspiracy to violate § 1956.

       25.     18 U.S.C. § 1956(a)(2)(A) (the international promotional money laundering statute)

criminalizes transporting, transmitting, and transferring, and attempting to transport, transmit, and

transfer a monetary instrument or funds to a place in the United States from or through a place

outside the United States with the intent to promote the carrying on of specified unlawful activity.

       26.     Pursuant to 18 U.S.C. § 1956(c)(7)(A), the term “specified unlawful activity,”

includes violations of 18 U.S.C. § 1344 (relating to bank fraud).

       27.     Pursuant to 18 U.S.C. § 1956(c)(7)(D), the term “specified unlawful activity,”

includes violations of IEEPA.

       28.     As noted above, U.S. financial institutions are barred, pursuant to the section 311(a)

special measure, from engaging in financial transactions with North Korean financial institutions.

As the FinCEN finding noted, North Korea makes “extensive use of deceptive financial practices,

including the use of shell and front companies to obfuscate the true originator, beneficiary, and

purpose behind its transactions,” in part “to evade international sanctions.” See Federal Register,

Vol. 81, No. 217 at 78716, 78718. Your affiant is aware that North Korean entities have attempted

to circumvent the section 311(a) ban by using foreign front companies to engage in financial

transactions on their behalf. These financial transactions would be in violation of 22 U.S.C. § 9214,



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if the parties openly acknowledged the involvement of the North Korean entities. Instead, the true

North Korean counterparties to these transactions remain concealed in order to allow the U.S.

dollars to be processed. This constitutes wire fraud, as the false transactions occur via wire, and

are done in part to defraud the Treasury Department, which has forbidden such transactions. This

also constitutes bank fraud, as the false transactions occur , in part, to defraud U.S. financial

institutions, which are barred from conducting such transactions and could face civil and criminal

penalties for not detecting these transactions. But for this scheme to defraud, the North Korean

entities would not be able to gain property and funds in question, totaling millions of dollars.

       29.     One of the primary means U.S. financial institutions use to comply with national

anti-money laundering procedures is through regular consultation of listings of designated parties,

to include OFAC’s SDN list. OFAC’s SDN list contains a number of persons (individuals and

entities) designated under various North Korean sanctions programs.

       30.     Based on my training and experience, I am aware that North Korean financial

facilitators are aware of these designation lists and that U.S. financial institutions are obligated to

conduct due diligence of their clients, in an attempt to prevent sanctioned parties from transacting

in U.S. dollars. In turn, these North Korean entities have a documented practice of using front

companies to avoid the imposition of designations and blockings, which may occur pursuant to

IEEPA. These opaque U.S. dollar transactions by front companies promote IEEPA violations.




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       F.      North Korea Banking and Use of Front Companies

       31.     The North Korean financial sector is comprised of state-controlled financial

institutions that use “front companies to conduct international financial transactions that support

the proliferation of WMD and the development of ballistic missiles in violation of international

and U.S. sanctions,” and are subject to “little or no bank supervision or anti-money laundering or

combating the financing of terrorism controls.” 81 Fed. Reg. at 78,715.

       32.     The United Nations Panel of Experts found that once North Korea could register a

front company without overt links to the country through the assistance of foreign nationals, it

became significantly easier for its firms to pass rudimentary due diligence checks by financial

institutions and open and maintain bank accounts.

       33.     North Korean entities used front companies to pay their counterparties in U.S.

dollars. The use of front companies and stripping material information, such as the true

counterparties to the transaction, from wire transfer instructions influence the decision making of

the correspondent banks into processing transactions that they otherwise normally would not, and

thus constitutes bank fraud.

       G.      North Korean Tobacco Market

       34.     North Korea has been engaged in the production and trafficking of counterfeit

cigarettes since 1992. Such trafficking is in part for the purpose of advancing procurement and

financial activity for the benefit of the DPRK’s WMD programs in contravention of U.S.

prohibitions on such activity. According to the 2015 U.S. Department of State report titled The

Global Illicit Trade in Tobacco: A Threat to National Security, cigarette smuggling “fuels

transnational crime, corruption, and terrorism.” I know from prior investigations that cigarettes—




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especially counterfeit cigarettes—may be one of North Korea’s largest single sources of hard

currency revenue.

V.     FACTS ESTABLISHING PROBABLE CAUSE

       A.      Summary of Scheme

       35.     From at least on or about February 2009 until on or about March 2019,

COCONSPIRATOR 1, COCONSPIRATOR 2, COCONSPIRATOR 3, SIM, and others known

and unknown, engaged in a conspiracy to commit bank fraud by, among other things, using

multiple front companies to purchase tobacco products from Company 1 and other goods for North

Korean customers. The co-conspirators used false shipping records to smuggle tobacco and other

goods into North Korea, and front companies to launder related U.S. dollar payments for these

shipments. In so doing, the co-conspirators deceived correspondent banks in the United States,

who would not have otherwise processed these transactions had they known about the nexus to

North Korea.

       36.     Additionally, from on or about March 15, 2016, until on or about March 14, 2019,

COCONSPIRATOR 1, COCONSPIRATOR 2, COCONSPIRATOR 3, SIM, and others known

and unknown, engaged in a conspiracy to violate U.S. sanctions barring trade with North Korea,

and did violate those sanctions, by purchasing tobacco from Company 1 and other products, and

reselling the same to North Korean customers, all in U.S. dollars. Indeed, the coconspirators

discussed ways of circumventing the sanctions to allow the trade to continue, including the use of

false shipping records and front companies.

       37.     Specifically, the coconspirators executed the conspiracy by:

                 a.   COCONSPIRATOR 1, COCONSPIRATOR 2, and COCONSPIRATOR 3,

                      operated and ran a series of companies under the name of “Winney” (“the



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                      WINNEY ENTITIES”). The WINNEY ENTITIES brokered sales of

                      products for North Korean customers. COCONSPIRATOR 1 and

                      COCONSPIRATOR 2 ran the companies and COCONSPIRATOR 3 was

                      employed by the companies.

                 b.   SIM was employed by FTB. SIM arranged for payments to the WINNEY

                      ENTITIES for various products procured by the WINNEY ENTITIES, on

                      behalf of North Korean customers. SIM arranged for these payments using

                      known KKBC/FTB front companies.

                 c.   According to bank records, from in or about November 2008 to in or about

                      April 2019, the WINNEY ENTITIES operated at least eleven bank accounts

                      as part of this scheme (the “WINNEY BANK ACCOUNTS”). During that

                      time period, the WINNEY BANK ACCOUNTS were involved in

                      approximately 336 U.S. dollar transactions totaling approximately

                      $84,300,000.    The    WINNEY         BANK     ACCOUNTS         originated

                      approximately 263 U.S. dollar transactions totaling approximately

                      $54,000,000 and received approximately 73 U.S. dollar transactions

                      totaling approximately $30,300,000.

       B.     Individuals and Entities

       38.    SIM is a North Korean national, believed to currently reside in the United Arab

Emirates. SIM has, on prior occasions, represented himself to be a South Korean national. During

the relevant time period, SIM was employed by FTB.

       39.    COCONSPIRATOR 1 is a Chinese national from Liaoning Province in China.

COCONSPIRATOR 1 is believed to currently reside in China.



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       40.     COCONSPIRATOR 2 is a Chinese national from Liaoning Province in China.

COCONSPIRATOR 2 is believed to currently reside in Australia.

       41.     COCONSPIRATOR 3 is a Chinese national from Liaoning Province in China.

COCONSPIRATOR 3 is believed to currently reside in the United Arab Emirates.

       42.     The WINNEY ENTITIES include eight corporate entities operated by

COCONSPIRATOR 2, COCONSPIRATOR 1, and COCONSPIRATOR 3. 1 According to

corporate registry records, COCONSPIRATOR 2 and COCONSPIRATOR 1 are the beneficial

owners/principal shareholders of the relevant WINNEY ENTITIES, and COCONSPIRATOR 3

has acted as a representative for several of the WINNEY ENTITIES.

              i.   Winney International Business Co. Limited (“Winney Entity 1”) was

                   registered in New Zealand in 2008. According to bank records, the majority of

                   Winney Entity 1’s incoming U.S. dollar wire transfers were from documented

                   North Korean front companies.

             ii.   Winney Trading Co., Limited (“Winney Entity 2”) was registered in England

                   in 2013. According to bank records, in 2013, Winney Entity 2 began sending

                   and receiving U.S. dollar correspondent account wire transfers. Winney Entity

                   2 used addresses in China, Hong Kong, and the United Kingdom as part of

                   these transactions. The Hong Kong address used by Winney Entity 2 matched



1
  Based on my training and experience, I know that using companies in multiple countries with
frequent name changes is common practice for entities attempting to avoid detection by law
enforcement. Legitimate businesses typically work to establish a corporate brand, which then has
an attendant reputation. Frequent name changes prevent the establishment of a brand or reputation.
COCONSPIRATOR 2, COCONSPIRATOR 1, and COCONSPIRATOR 3 operated under
variations of the “Winney” name for several years, but eventually changed their company names
completely.

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                    an address previously used by Winney Entity 1. According to bank records, as

                    with Winney Entity 1, the majority of Winney Entity 2’s incoming U.S. dollar

                    wire transfers were from documented North Korean front companies.

             iii.   Dandong Winney Trading Co. LTD (“Winney Entity 3”) was registered in

                    China in 2013. According to bank records, Winney Entity 3 was used on a

                    limited basis, but also received U.S. dollar correspondent account wire

                    transfers from at least one documented North Korean front company. The

                    address for Winney Entity 3 on these bank records was the same office

                    building as a now-sanctioned North Korean front company in Dandong, China.

             iv.    Winney Tobacco FZCO (“Winney Entity 4”) was registered in UAE in 2017.

              v.    Winney FZCO (“Winney Entity 5”) was registered in UAE in 2017.

             vi.    Bluebay FZCO (“Winney Entity 6”) was registered in UAE in 2019 as a

                    successor   to   Winney   Entity   4.   According   to   email   records   in

                    COCONSPIRATOR 3’s and COCONSPIRATOR 2’s email account, in 2019,

                    Winney Entity 4 changed its name to Winney Entity 6.

            vii.    Goldfield Tobacco FZCO (“Winney Entity 7”) was registered in UAE in 2019

                    as a successor to Winney Entity 5. According to email records in

                    COCONSPIRATOR 3’s and COCONSPIRATOR 2’s email account, in 2019,

                    Winney Entity 5 changed its name to Winney Entity 7.

            viii.   Ganzhou Guanli Supply Chain Management Co. LTD (“Winney Entity 8”)

                    was registered in Ganzhou, China in 2017.

      43.      Company 1 is an international tobacco company located outside of Asia that sold

tobacco to WINNEY ENTITIES between February 2009 and March 2019. Business records of



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Company 1 show Company 1’s business with WINNEY ENTITIES. These documents reveal that

Company 1’s goods first shipped to Dalian, China, and the goods were subsequently sent to North

Korea. 2

       C.       Evidence of Knowledge

       44.      Emails associated with an account associated with SIM (hereinafter “Email

Account 1”) show that SIM was working as a North Korean financier for the now-sanctioned FTB

and was knowingly assisting North Korea with sanctions violations.

       45.      Email Account 1 was established in July 2016. I believe that Email Account 1 is

operated by SIM and North Korean National 1 (NKN1), a coconspirator of SIM who also is

believed to be working for FTB. A review of searches of Email Account 1 showed that between

July 30, 2016 and June 1, 2019, approximately 48 e-mails were either addressed to or signed by

SIM. A review of searches of Email Account 1 showed that between October 5, 2016 and January

18, 2019, approximately 36 e-mails were either addressed to or signed by NKN1.

       46.      I believe Email Account 1 to be associated with SIM because:

                 •   On October 5, 2016, Email Account 1 received an e-mail from an associate.

                     There was no subject line and no body to the email, but there were two

                     attachments. The attachment names were SIM’s name and the name of NKN1.

                     The documents were UAE electronic work permits for the two individuals, but

                     needed signatures and fingerprints to be completed. That same day, Email

                     Account 1 responded with the words “Thanks for yr kind cooperation” and


2
  Based on my training and experience, such transshipment of goods is a common practice to
avoid sanctions, and Dalian, China is a major smuggling point for goods entering North Korea due
to the ability of North Korean-bound goods to go relatively undetected as Dalian has a very high
volume of shipments clearing the port every day.

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                    attached copies of the work permits that had the required signatures and

                    fingerprints of SIM and NKN1. The associate, in their email, later changed the

                    alias assigned to Email Account 1 to SIM’s name.

                •   On April 3, 2017, Email Account 1 sent an e-mail to an account that was

                    previously identified in another case as an FTB representative in Kuwait. The

                    subject of the e-mail was “copy” with no body included. There were six

                    attachments to the e-mail which were all copies and information from SIM’s

                    and NKN1’s North Korean driver’s licenses. Three days later, the FTB Kuwait

                    representative responded with two attachments on the letterhead of the

                    Embassy of the Democratic People’s Republic of Korea in Kuwait. The

                    documents had copies of the North Korean driver’s licenses for SIM and

                    NKN1 and verified that the driver’s licenses were legitimate for both SIM and

                    NKN1. These documents were then forwarded the next day to the individual

                    that provided them with their electronic work permits.

                •   Email Account 1 was tied to a WeChat account and conversations that included

                    attachments were documented in an email sent to Email Account 1. The emails

                    would list the participants in the conversation, including SIM, who was listed

                    in the WeChat as the user for Email Account 1.

       47.     In emails associated with the account, both SIM and NKN1 use their true names

and claim to be employees of FTB and its subsidiary KKBC. (Based on my experience, FTB and

KKBC act interchangeably as KKBC is a subsidiary of FTB and both are entities sanctioned by

OFAC.) According to emails obtained for various accounts associated with FTB and KKBC in a

separate investigation into these entities, FTB and KKBC station representatives globally in order


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to assist the bank in clearing financial transactions on behalf of the banks’ clients. Further, shortly

after Email Account 1 was opened, one of the first e-mails sent from the account was sent to the

official KKBC office email in Dandong, China (kbcdbank@163.com), notifying the Dandong

office and “H.O.” (home office in North Korea) that this new email account had been established.

The email was unsigned. SIM and NKN1 have continued to send emails to FTB headquarters using

Email Account 1 and signing in their true names through at least 2019 using this e-mail address.

       48.     Email communication from SIM on Email Account 1 shows that SIM was

knowledgeable about North Korean money laundering techniques, specifically moving money

between shell corporations. For instance, on August 3, 2016, the Email Account 1 users ask that

the message be delivered to the “Home Office” for a Credit Advance to the Dubai Office (the

message was titled “Dubai C/A 160803 H.O.”). The message included coded instructions for how

two payments should be made: $300,000 to be transferred from “OUR DANDONG (01113)”

(most likely referring to the Dandong office of KKBC) to “KKG DUBAI DAEPYOBU,” which

translates to Dubai Embassy. The message included a note, “Note: Pls give P/O of 02-300 000.- to

FTB Kuwait DAEPYOBU in favor of our Dubai rep. for fund transfer.” The “02-300 000”

reference is a coded part of the message. Based on my review of emails in this and other accounts

of FTB representatives, “02” refers to a payment in U.S. dollars and the “300 000” is the amount

of the payment. This shows that the account user is asking the KKBC office in North Korea to

shift $300,000 to the FTB representative in Dubai in order for that representative to make a

payment to “KKG DUBAI DAEPYBOU.” This use of shell companies by KKBC and FTB to send

and receive the funds evidence SIM’s knowledge.




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       49.       Emails found on Email Account 1 show that the users (SIM and NKN1) were aware

of U.S. sanctions against North Korea. Specifically, the users conducted various searches related

to the same, including:

             •   “Sanctions List Search” – August 22, 2017 – corresponding visit to
                 https://www.treasury.gov/resource-
                 center/sanctions/Programs/Pages/Programs.aspx
             •   “us treasury sanctions” – August 22, 2017
             •   “us draft resolution on north korea” – September 7, 2017
             •   “us treasury” – September 26, 2017
             •   “new us sanctions on north korea” – September 26, 2017
             •   “ofac sanctions fact sheet” – September 26, 2017
             •   “north korea sanctions ofac” – September 26, 2017
             •   “fact sheet for us treasury on north korea” – September 26, 2017
             •   “fact sheet for us treasury” – September 26, 2017
             •   “us treasury” – September 26, 2017 – User visited “https://www.treasury.gov/ on
                 this same day.
             •   “us sanctions on north korea” – September 26, 2017
             •   “ofac” – September 26, 2017
             •   “미재무성제재” – September 26, 2017 meaning US Treasury Sanctions in korean
             •   “us treasury sanction list” – October 18, 2017
             •   “eu sanctions list 2017” – Oct 18, 2017 – corresponding visit to “Free Sanction
                 Lists Search – OFAC, UN, EU, HMT – NameScan
             •   “eu sanctions list” – Oct 18, 2017
             •   “fact sheet eu sanction on north korea” – Oct 18, 2017

       50.       As explained, it appears that both SIM and NKN1 used Email Account 1 during

2017, and specifically, a comparison of emails sent on the days of these searches shows that on at

least September 2, 2017, Email Account 1 received an e-mail from an FTB official located in

Pyongyang, North Korea that was addressed to “Mr. Sim.” This e-mail had four attachments, two

of which were identifying documents of two different North Korean nationals along with

notarization forms associated with the passed documents.

       51.       Browser history associated with SIM and NKN1’s e-mail account shows that they

viewed a story titled “OFAC sanctions North Korean banks and bank employees – NK News” on

September 26, 2017. This article, published on the same day as it was viewed, discussed “new

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sanctions against North Korean individuals and entities . . . targeting numerous DPRK nationals

working abroad and several of the country’s banks. In total, eight North Korean banks and 26

individuals were designated by the Treasury’s Office of Foreign Assets Control (OFAC).” Then

U.S. Treasury Secretary Mnuchin was quoted in the article as saying “We are targeting North

Korean banks and financial facilitators acting as representatives for North Korean banks across the

globe.” The article also specifically referenced the designation of North Korean banking

representatives stationed in Dubai. The article went on to state that the OFAC press release “also

identified another newly designated North Korean Individual in China” as being “associated with

cash transfers from the Foreign Trade Bank office in Shenyang to banks affiliated with North

Korean special organizations and Reconnaissance General Bureau operatives” or “RGB.”

       52.     A news article accessed the same day by the Email Account 1 users discussed the

September 26, 2017 sanctions package stating, “The U.S. also used an additional designation to

emphasize that two banks in North Korea are actually part of Kim’s government: the Foreign Trade

Bank of the Democratic People’s Republic of Korea and the Central Bank of Democratic People’s

Republic of Korea. Both banks had been previously targeted under earlier sanctions authorities.”

       D.      Payments to WINNEY ENTITIES from DPRK

       53.     During the relevant time period, the WINNEY ENTITIES received payments from

known DPRK Front Companies and SIM, an FTB employee, apparently associated with the

WINNEY ENTITIES’ North Korean procurement.

               Payments by Known DPRK Front Company

       54.     Dandong Hongxiang Industrial Development (“DHID”) was a Chinese front

company that between August 2009 and August 2016 laundered hundreds of millions of dollars

for KKBC after KKBC’s designation in August of 2009.            This conduct    led to a criminal



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indictment in the District of Columbia. See generally Case No. 2:19-cr-00514 (D.D.C.). As alleged

in the indictment, DHID and its related entities received goods, such as coal, from North Korea.

In lieu of paying North Korea for these goods, KKBC directed DHID to pay third parties in U.S.

dollars for commodities that North Korea wanted to obtain. On September 26, 2016, the OFAC

sanctioned DHID and also noted DHID acted on behalf of KKBC.

          55.     According to bank records, between April 2012 to January 2016, DHID and its

front companies wired the WINNEY ENTITIES approximately $17,789,857. As described herein,

your Affiant believes there is probable cause that these payments were in reference to North

Korean transactions, including transactions related to Company 1’s sales, as described further

herein.

   Date                  Originator                       Beneficiary                      Amount
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 12/02/09                                                                                $206,506.00
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 12/28/09                                                                                $231,238.02
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 12/28/09                                                                                $43,809.00
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 12/28/09                                                                                $128,609.91
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 12/30/09                                                                                $32,998.10
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 01/08/10                                                                                $626,309.27
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 01/20/10                                                                                $197,139.43
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 01/20/10                                                                                $91,492.16
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 02/25/10                                                                                $252,323.00
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 02/25/10                                                                                $253,694.00
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 02/26/10                                                                                $63,919.00
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 03/02/10                                                                                $101,317.00
                COMPANY LIMITED                BUSINESS CO LIMITED
                BLUE SEA BUSINESS              WINNEY INTERNATIONAL
 03/18/10                                                                                $602,568.00
                COMPANY LIMITED                BUSINESS CO LIMITED


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           BLUE SEA BUSINESS          WINNEY INTERNATIONAL
06/01/10                                                                 $113,920.00
           COMPANY LIMITED            BUSINESS CO LIMITED
                                      WINNEY INTERNATIONAL
08/23/10 FANWELL LIMITED                                                 $51,958.00
                                      BUSINESS CO LIMITED
                                      WINNEY INTERNATIONAL
10/21/10 FANWELL LIMITED                                                 $818,986.50
                                      BUSINESS CO LIMITED
           DA NDONG HONGXIANG
                                      WINNEY INTERNATIONAL
04/23/12   INDUSTRIAL DEVELOPMENT                                    $1,607,534.00
                                      BUSINESS CO LIMITED
           CO
           DANDONG HONGXIANG
                                      WINNEY INTERNATIONAL
06/13/12   INDUSTRIAL DEVELOPMENT                                    $1,132,871.00
                                      BUSINESS CO LIMITED
           CO
           DANDONG HONGXIANG
                                      WINNEY INTERNATIONAL
04/25/13   INDUSTRIAL DEVELOPMENT                                    $1,838,712.00
                                      BUSINESS CO LIMITED
           CO
           DANDONG HONGXIANG
                                      WINNEY INTERNATIONAL
06/03/13   INDUSTRIAL DEVELOPMENT                                    $1,499,984.20
                                      BUSINESS CO LIMITED
           CO
           DANDONG HONGXIANG
                                      WINNEY INTERNATIONAL
06/07/13   INDUSTRIAL DEVELOPMENT                                    $1,006,538.00
                                      BUSINESS CO LIMITED
           CO
11/01/13   SHEEN FAIR TRADING LTD     WINNEY TRADING CO LTD              $999,998.00
11/04/13   SHEEN FAIR TRADING LTD     WINNEY TRADING CO LTD              $546,532.00
           DANDONG HONGXIANG
02/25/14   INDUSTRIAL DEVELOPMENT     WINNEY TRADING CO LTD          $2,693,825.00
           CO
           DANDONG HONGXIANG
                                      WINNEY INTERNATIONAL
05/19/14   INDUSTRIAL DEVELOPMENT                                        $799,994.00
                                      BUSINESS CO LIMITED
           CO
           DANDONG HONGXIANG          WINNEY INTERNATIONAL
05/19/14                                                                 $799,994.00
           INDUSTRIAL                 BUSINESS CO
           NICE FIELD INTERNATIONAL   WINNEY INTERNATIONAL
08/12/14                                                                  $5,200.00
           LIMITED                    BUSINESS CO LIMITED
           NICE FIELD INTERNATIONAL   WINNEY INTERNATIONAL
11/05/14                                                                 $33,082.00
           LIMITED                    BUSINESS CO LIMITED
           NICE FIELD INTERNATIONAL   WINNEY INTERNATIONAL
01/21/15                                                                 $41,952.00
           LIMITED                    BUSINESS CO LIMITED
           GOOD FIELD TRADING         WINNEY INTERNATIONAL
04/28/15                                                                 $57,238.00
           LIMITED                    BUSINESS CO LIMITED
           NICE FIELD INTERNATIONAL   WINNEY INTERNATIONAL
05/20/15                                                                 $29,854.00
           LIMITED                    BUSINESS CO LIMITED
           GOOD FIELD TRADING         WINNEY INTERNATIONAL
09/29/15                                                                 $209,982.00
           LIMITED                    BUSINESS CO LIMITED
           NICE FIELD INTERNATIONAL   WINNEY INTERNATIONAL
10/22/15                                                                 $49,797.00
           LIMITED                    BUSINESS CO LIMITED
           NICE FIELD INTERNATIONAL   DANDONG WINNEY TRADING CO
01/11/16                                                                 $619,982.00
           LIMITED                    LTD
                                                                     $17,789,856.59



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               Payments by FTB Employee SIM

       56.     SIM caused payments to be processed to the WINNEY ENTITIES for the North

Korean procurement done by the WINNEY ENTITIES.

       57.     For example, on June 16, 2018, Email Account 1 received an e-mail from a North

Korean e-mail address with a user referred to as “Mr. Jo” (JO) in Dandong, a city on the Chinese

– North Korean border. JO and Email Account 1 regularly emailed about wire payments, leading

me to believe that JO may be associated with FTB. Attached to the email was a document on

WINNEY ENTITIES’ letterhead, which described how to make payments to the WINNEY

ENTITIES, listed WINNEY ENTITIES’ bank account details in Dubai, and an amount to be

remitted to the account. The bank account listed on the form is a U.S. dollar bank account

belonging to Winney Entity 4 (“Bank Account A”).

       58.     SIM also utilized another email account, Email Account 2, 3 a search warrant of

which was done in a separate investigation. I believe this account to be associated with SIM due

to an e-mail on December 22, 2017. This e-mail was from E-mail Account 2 to an unknown

recipient. The e-mail states,

               Dear sir,
               How are you?
               This is SIM, staying in Dubai and sending you the result for Alegeria Issue as per
               request from Mr. Pak. It took some time for checking safe cannels and following
               cheaper prices.
               ....

3
        When SIM started to use Email Account 2, he used the alias of “Ali” and also went by “Ali
Sim” at times. In an e-mail chain on August 13, 2020 that originated with Email Account 1, SIM
signed the e-mail as “Ali” when discussing with a bank transfer that SIM was trying to initiate
with Unknown Recipient 2 (“UR2”). The e-mail was then forwarded to Email Account 2 which
took over the communication with UR2 about the bank transfer. UR2 responded and addressed the
user of Email Account 2 as “Ali,” the same name that originated the conversation from Email
Account 1. Email Account 2 responded and signed another e-mail as “Ali.” This chain went back
and forth until the issue was settled.



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               I can provide USD accounts overseas in some area such as Hong kong and Turkish,
               and also provide the documents such as invoice and contract, which are necessary
               for you to apply to the correspondent bank to transfer outside in USD.
               I know you have been waiting for good news from me for over 2 weeks, but not
               succesful.


       59.     On December 25, 2017, Email Account 2 forwarded this exchange to Email

Account 1. There are several instances of messages being forward between Email Account 2 and

Email Account 1. Further, Email Account 2 records show that the WINNEY ENTITIES’ banking

information was discovered on Email Account 2.

       60.     On June 18, 2018, SIM sent an e-mail from Email Account 2 to an unknown

recipient 1 (“UR1”) with a payment instruction requesting $700,000 be sent to WINNEY

ENTITIES’ bank account at an Emirati bank, i.e., Bank Account A. Bank records show that, on

June 20, 2018, WINNEY ENTITES’ account (Bank Account A) received a payment from

“Company C” for $357,889.07 and another payment from “Company D” for $342,029.07. These

payments total to $699,918.14. (The difference in this amount and the instructed amount given by

SIM is most likely due to bank fees associated with the payments.)

       61.     On June 21, 2018, SIM sent another e-mail to UR1 from Email Account 2. The text

(in Korean) instructed the recipient to make a payment to WINNEY ENTITIES, to the same two

accounts as before. SIM also told UR1 to transfer the funds without reconfirming in the morning

the next day. The attachment to the e-mail is a payment instruction for the recipient to send

$772,793 to WINNEY ENTITIES account in Dubai (Bank Account A). Bank records show that,

on June 22, 2018,“ Company C” sent $389,232.09 to Bank Account A. Bank records show that,

on June 26, 2018, “Company C” sent $383,479.13 to Bank Account A. Together these transfers

total $772,711.22. (The discrepancy between this total and the original instructed amount from

SIM is most likely due to banking fees associated with the transfers.)

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       62.      On July 12, 2018, SIM again sent an e-mail, using Email Account 2, to UR1 using

coded language and apparently instructing for a payment of $336,231.62 be paid to WINNEY

ENTITIES’ account (Bank Account A). Bank records show that, on July 16, 2018, “Company E ”

sent $336,190.50 to the WINNEY ENTITIES’ bank account (Bank Account A).

       63.      Based on the foregoing, UR1 appears to have access to multiple front companies

that are depositing these funds requests into WINNEY ENTITIES’ accounts.

       64.      Bank records for Bank Account A show that on the following dates this account

received U.S. dollar payments that transited through the U.S. financial system, from front

companies that appear to be associated with SIM and UR1.

   Date            ORIGINATOR                 BENEFICIARY                  Amount
 06/20/18    Company C                  WINNEY ENTITY 4                  $357,889.07
 06/20/18    Company D                  WINNEY ENTITY 4                  $342,029.07
 06/22/18    Company C                  WINNEY ENTITY 4                  $389,232.09
 06/26/18    Company C                  WINNEY ENTITY 4                  $383,479.13
 07/12/18    Company E                  WINNEY ENTITY 4                  $385,279.86
 07/16/18    Company E                  WINNEY ENTITY 4                  $336,190.50



       65.      Based on my training and experience, the payment information sent by “JO” on

June 16, 2018 to Email Account 1was to allow the home office to direct payments from the various

representatives around the world with ease. As SIM is the representative in Dubai, where

WINNEY ENTITIES was operating at the time, it is consistent with SIM business practices to

receive this payment information to disburse to companies that make payments for North Korea.




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       E.        WINNEY ENTITIES’ Tobacco Procurement

                 1. Purchases of Company 1’s Tobacco Products

       66.       Bank records and business records of Company 1 show that between February 2009

and March 2019, WINNEY ENTITIES procured tobacco products for North Korean customers

from Company 1. During this time period, Company 1 received at least $42 million in wire

transactions with WINNEY ENTITIES, all of which were processed in U.S. dollars. Between

February 2009 and May 2016, Company 1’s bills of lading typically listed a North Korean buyer.

From May 2016 until March 2019, references to North Korea were removed from the bills of

lading, However, the goods were all shipped to Dalian, China, a known point of smuggling for

goods to North Korea. Thus, your affiant believes that most, if not all, of the $42 million in wire

transactions between Company 1 and WINNEY ENTITIES during this time period were related

to sales to North Korea.

       67.       According to banking records and business records of Company 1:

             •   Winney Entity 1. Analysis of bank records from February 2009 to December 2017

                 show that roughly 85% of Winney Entity 1’s outgoing U.S. dollar correspondent

                 account wire payments related to purchasing tobacco from Company 1 as listed on

                 the wire transfer memorandums.

             •   Winney Entity 2. According to bank records, as with Winney Entity 1, the majority

                 of Winney Entity 2’s outgoing U.S. dollar wire transfers were to Company 1 for

                 tobacco purchases, as listed on the wire transfer memorandums, and related

                 incoming transfers from documented North Korean front companies.




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       68.       Company 1’s employee, CS-1, 4 a senior executive who worked for Company 1

during the relevant time period, stated that the WINNEY ENTITIES were controlled by

COCONSPIRATOR 3 and COCONSPIRATOR 2. CS-1 met with COCONSPIRATOR 3 and

COCONSPIRATOR 2 on different occasions.

       69.       Company 1’s records related to the Company 1’s business dealings with WINNEY

ENTITIES between February 2013 and March 2019 show:

             •   Bills of lading and invoices from WINNEY ENTITIES dated between February

                 2013 and March 2019 listed Dalian, China, as the destination of the goods

                 purchased.

             •   In early 2013, the invoices listed NKTC1 as a consignee, or buyer, of Company 1

                 products. NKTC1’s address in North Korea was also listed on the invoices. From

                 prior investigations, I know that NKTC1 is a North Korean state-owned tobacco

                 company that conducts financial transactions through and with the FTB.

             •   A Company 1 invoice dated September 18, 2014, for a purchase of tobacco from

                 Company 1 by WINNEY ENTITIES, listed the destination as Dalian, China, and

                 the invoice amount as $365,904. The consignee of the goods was listed as NKTC1

                 with an address in “Pyongyang, D.P.R.K (Democratic People’s Republic of

                 Korea).” This shipment was covered under a two-year contract between WINNEY

                 ENTITIES and Company 1 worth approximately $9,000,000 and the contract

                 specifies payment terms in U.S. dollars. Bank records show that on March 25, 2013,

                 WINNEY ENTITIES made a payment to Company 1 that transited a U.S. bank in


4
         The information received from CS-1 is corroborated by bank and e-mail records obtained
in this investigation..

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                 New York totaling approximately $1,047,103.20. CS-1 confirmed this payment

                 was associated with the shipment being discussed.

       70.       Additionally, CS-1 provided information about how the WINNEY ENTITIES

attempted to evade North Korean Sanctions. CS-1 stated that the WINNEY ENTITIES used

multiple different shipping companies from 2014 to 2015. CS-1 also stated that the WINNEY

ENTITES were responsible for all the information listed on the bills of lading. For instance, in

March 2016, instead of listing NKTC1 as the consignee, the WINNEY ENTITIES began listing a

new consignee that your Affiant knows was later investigated for smuggling goods into North

Korea. This change in practice coincided with the March 2016 imposition of country-wide

sanctions on North Korea by the U.S. government. According to CS-1, the WINNEY ENTITIES

were responsible for changes on the bills of lading, which removed all references of North Korea

from vital shipping documents.

                 2. Bank Transactions Related to DPRK Tobacco Procurement

                 Payments from DPRK Front Company Carbuncle to Company 1

       71.       Company 1 records show that WINNEY ENTITIES purchases of Company 1’s

products was facilitated by the use of a front company, “Carbuncle Business Company Limited”

(“Carbuncle”). In 2013, Company 1 made various shipments to North Korean customers that were

brokered by WINNEY ENTITIES, for which Company 1 was paid by Carbuncle.

             •   From February 25, 2013, to June 13, 2013, Company 1 sent five shipments for the

                 customer Carbuncle, located in Hong Kong. On the bill of lading, the Consignee is

                 listed as “Korea Carbuncle Business Company Limited,” with an address in

                 Shenyang, China. According to British corporate business registration documents,




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                   Carbuncle was incorporated in England in September 2006 by DHID’s CEO and is

                   believed to be a front company for DHID. 5

               •   All shipping documents related to these sales listed Dalian, China as the final

                   destination of the goods. As stated, Dalian is a known hub for transshipment of

                   goods to North Korea.

               •   Company 1 showed the bills associated with the goods delivered for Carbuncle

                   were $593,406. Carbuncle and another front company established by DHID/KKBC

                   (“DHID Front Company 2”), combined to make six payments to Company 1

                   totaling $593,370 between January 25, 2013, and August 8, 2013. Payments

                   associated with these five shipments transited the U.S. financial system, as follows:

     Date             Originator                                Beneficiary                        Amount
               CARBUNCLE BUSINESS
    01/25/13                                       Company 1                                      $35,604.36
               COMPANY LIMITED
    03/15/13   DHID Front Company 2                Company 1                                      $83,058.84
               CARBUNCLE BUSINESS
    04/11/13                                       Company 1                                     $118,681.20
               COMPANY LIMITED

5
         Through a separate investigation, I know that Carbuncle was used to make a payment to a
British tobacco company. Based on my review of bank and email records in that case, there is
probable cause to believe that Carbuncle was used as a front company by DHID to aid KKBC in
their attempts to process U.S. dollar transactions while being sanctioned by the U.S. government.
For example, in a similar tobacco scheme involving a different international tobacco company that
sold tobacco to North Korea, DHID made several payments to the company for tobacco that was
shipped to North Korea. At times, DHID would move funds from an associated front company,
evidenced by the registered agents, to make a payment for DHID. Carbuncle was one of the front
companies used to pay this company for tobacco as they were used in this case.

        Your affiant notes that the use of front companies is common with North Korean
transactions. DHID itself was being used as a front company for North Korea, but to help hide the
true number of transactions that DHID was performing, DHID would make and use its own front
companies. This practice would cause US banks, that would not realize the front company
relationship, to not have the full financial activity of DHID and would cause less of a spotlight to
be shined on DHID for higher volumes of financial activity.

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     05/23/13      DHID Front Company 2             Company 1                             $118,663.20
                   CARBUNCLE BUSINESS
     06/21/13                                       Company 1                             $118,681.20
                   COMPANY LIMITED
                   CARBUNCLE BUSINESS
     08/08/13                                       Company 1                             $118,681.20
                   COMPANY LIMITED
                                                                                          $593,370.00



                     Purchases of Company 1’s Products for North Korean Trade Company 2

          72.        Emails of COCONSPIRATOR 2 showed that WINNEY ENTITIES brokered sales

 of Company 1’s tobacco product for a North Korean buyer, North Korean Trade Company 2

 (“NKTC2”). Open-source information shows that NKTC2 was a state-owned entity that is

 operated by North Korea’s Ministry of People’s Armed Forces and tasked with producing North

 Korean cigarettes. In 2016, two different subordinates of the Ministry of Peoples Armed Forces

 were sanctioned by OFAC. Both entities had ties to North Korea’s nuclear and ballistic missile

 programs.

          73.        On July 2, 2019, a WINNEY ENTITIES employee emailed COCONSPIRATOR 2

 a chart of historical payments and amounts paid to NKTC2’s suppliers by WINNEY ENTITIES

 and related companies. The chart reflected as follows:

       Remittance      Amount Received
№        Date              (USD)          Beneficiary                      Note
                                                          3/14지불한USD250,000$중에서USD105,656.38$는
1      2019/3/14          144,343.62         AG           종전건 확인서<N19-0327-1Y> USD1,385,750.4$에
                                                             포함하며 USD144,343.62$는 이번건에 포함
2       2019/3/24         220,000.00         AG                  은행에 걸림, 실제접수못했음
T3       2019/4/9         254,000.00         HK
4       2019/4/22         260,000.00         HK
5       2019/4/30          67,500.00        Dubai
6        2019/5/6          14,701.00         HK                    HK$ 115,500.00로 접수함
13      2019/5/10         120,346.00         HK                    HK$ 945,000.00로 접수함
14      2019/5/14         295,400.00         HK
                                                          5/20지불한USD320,934$중에서USD120,933.18 $는
15      2019/5/20         120,933.18         HK                이번건에 포함하며USD200,000.82$는
                                                               다음건USD1,811,577.12$에 포함할것



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       74.       Bank records show that the above payments routed through United States financial

institutions via a series of front companies, including:

             •   Payment No 1. The note for the payment indicates that this payment was part of a

                 larger U.S. dollar transfer, stating: “From 250,000 USD payment made on 3/14,

                 105,656.38 USD is part of the previous confirmation <N19-0327-1Y>

                 1,385,750.40 USD, and 144,343.62 USD is for this one.” Bank records matched

                 this information to a payment made to Company 1 (identified in the chart as “AG”)

                 by a front company (“Front Company A”). Bank records show that Front Company

                 A made six payments to Company 1 from January to March of 2019 totaling

                 $1,460,300.

             •   Payment No. 2. The note states that the payment was stopped by the bank and that

                 Company 1 failed to receive it. Bank records show that a payment of $220,000 from

                 Front Company B to Company 1 was stopped by a U.S. correspondent bank on

                 April 3, 2019.

       F.        WINNEY ENTITIES’ Helicopter Procurement

       75.       In March 2019, WINNEY ENTITIES procured a Russian helicopter for North

Korean customers. Specifically, on March 1, 2019,

             •   A Russian-based email address sent five documents to an intermediary who appears

                 to work with SIM.

             •   The intermediary thereafter forwarded the documents to Email Account 1 the same

                 day.

             •   Email Account 1 forwarded the documents to COCONSPIRATOR 3

                 approximately one hour later.


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       76.       The documents forwarded from Email Account 1 to COCONSPIRATOR 3 on

March 1, 2019, all related to a helicopter purchase by the WINNEY ENTITIES.

             •   One document, a 2018 sales contract, states that the helicopter was purchased by

                 Company 2. The contract further states that a “partner” of the buyer, a third party

                 (“Company 3”) in Hong Kong, would fund the purchase of the helicopter for

                 $424,000.

             •   Another document, a sales contract dated February 1, 2019, sent to

                 COCONSPIRATOR 3 on March 1, 2019 showed the helicopter was subsequently

                 sold from Company 2 to Winney Entity 5. The contract stated the helicopter was

                 located in Khabarovsk, Russia and would be delivered to a port in North Korea.

                 The contract listed a price of $300,000 that would be paid in advanced.

                 COCONSPIRATOR 1 was listed on the contract as the representative for Winney

                 Entity 5.

       77.       On March 4, 2019, Email Account 1 received an e-mail with the subject line “FW:

Sign contract.” There was no content in the e-mail body, but attached were two pages of a loan

contract.

             •   The first page showed that an individual was being named as a lender and that a

                 law firm located in Zimbabwe was listed as the borrower of funds. The amount of

                 the loan was $300,000, which is the amount the helicopter was purchased for later

                 that month. The lender agreed to move the funds to the Zimbabwe law firms’ bank

                 account.

             •   The second page of the contract stated, “Upon receipt to above account, the

                 Borrower transfer the designated amount after deducting 9.5% of deposited amount


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                 to the below account of the Lender within 24 hours.” The account listed as the end

                 destination of the funds belongs to Winney Entity 5.

             •   The loan contract was signed by both the lender and the borrower.

       78.       Based on the aforementioned documents, it appears that the WINNEY ENTITIES,

with assistance from FTB employees, procured for North Korea a helicopter and that U.S. dollar

funds were sent via a U.S. correspondent banking account from a Zimbabwean law firm to a

WINNEY ENTITY as the payment for the same.

VI.    CONCLUSION


       79.       Based on facts described above, there is probable cause to believe that SIM Hyon-

Sop and co-conspirators known and unknown have committed violations of 18 U.S.C. § 371

(Conspiracy), 18 U.S.C. § 1344 (Bank Fraud), 31 U.S.C. § 5322 (The Bank Secrecy Act), 50

U.S.C. § 1705 (IEEPA), and 18 U.S.C. §§ 1956(a)(2)(A) and (h) (Money Laundering).



                                                               ________________________
                                                               Joy Gallante
                                                               Special Agent
                                                               Federal Bureau of Investigation




Subscribed and sworn to
before me this ____ day of September, 2022
                           Digitally signed by Moxila A.
                           Upadhyaya
                           Date: 2022.09.30 18:55:22 -04'00'
The Honorable
Magistrate Judge for the District of Columbia




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